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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS., et al.                *

       Plaintiffs                             *       Civil Case No. 25-cv-02429 (MKV)

v.                                            *

U.S. DEPARTMENT OF JUSTICE, et al.            *

                                              *
       Defendants
                                          *
                                      *********


                    AMENDED DECLARATION OF JON LORSCH, Ph.D.
       I, Jon Lorsch, Ph.D., hereby declare that my testimony below is true and correct to the

best of my knowledge and belief and is given under penalty of perjury, pursuant to 28 U.S.C.

§ 1746:

       1.      I am the Acting Deputy Director for Extramural Research at the National

Institutes of Health (NIH), an operating division of the U.S. Department of Health and Human

Services (HHS). I have held this position since April 7, 2025.

       2.      In addition to my current role, I am the Director of the National Institute of

General Medical Sciences (NIGMS), a position I have held since 2013, where I oversee

NIGMS’s mission-related activities, supporting basic research that increases understanding of

biological processes and lays the foundation for advances in disease diagnosis, treatment, and

prevention. I am also a Senior Investigator in the Eunice Kennedy Shriver National Institute of

Child Health and Human Development (NICHD), a position I have held since 2014.

       3.      As Acting Deputy Director for Extramural Research, I am the principal scientific


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advisor to the NIH Director on all matters relating to the substance, quality, and effectiveness of

the NIH extramural research program. I am responsible for overseeing the Office of Extramural

Research under the Office of the NIH Director. The Office of Extramural Research “provides the

corporate framework for the NIH research administration and works to ensure the scientific

integrity, public accountability, and effective stewardship of the NIH research grant portfolio.”

Office of the Director, NIH, https://www.nih.gov/about-nih/what-we-do/nih-almanac/office-

director-nih (last visited April 22, 2025).

       4.      I make this declaration based on personal knowledge acquired by me in the course

of performing my official duties, information contained in the records of the relevant HHS

components, and information supplied to me by current employees of the relevant HHS

components.

       5. The NIH funds biomedical and behavioral research. Its mission is “to seek

fundamental knowledge about the nature and behavior of living systems and the application of

that knowledge to enhance health, lengthen life, and reduce illness and disability.” See

https://www.nih.gov/about-nih/what-we-do/mission-goals (last accessed April 28, 2025). As one

of eight agencies of the U.S. Public Health Service, 42 U.S.C. 281(b), the NIH is an operating

division of HHS. The NIH’s authority to conduct and sponsor research and set research priorities

arises from the Public Health Services Act (PHSA), 42 U.S.C. § 241, et seq.

       6.      Section 301 of the PHSA, 42 U.S.C. § 241, sets forth the general authority of the

Secretary of Health and Human Services to conduct and support “research, investigations,

experiments, demonstrations, and studies relating to the causes, diagnosis, treatment, control, and

prevention of physical and mental diseases and impairments of man. . . .” This authority has been




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delegated to the Director of the NIH, and further delegated to the Directors of each institute

within the NIH.

        7.      Section 402 of the PHSA, 42 U.S.C. § 282, is the foundational authority of the

NIH Director which includes authority to conduct “priority-setting reviews,” “assess research

priorities,” and “ensure that the resources of the [NIH] are sufficiently allocated . . . .” See, e.g.,

Section 402(b)(4),(5), and (6). This is consistent with the NIH’s inherent authority to determine

funding priorities in awarding discretionary grants within a finite amount of appropriations.

        8.      The NIH exercises broad discretion in awarding and administering grants. The

Secretary awards grants “to those applicants whose approved projects will in the Secretary’s

judgment best promote the purposes of the statute authorizing the grant and the regulations of

this part.” 42 CFR § 52(a). The applicants for and recipients of NIH grant awards are institutions,

which designate a principal investigator to lead the scientific and technical direction of research

projects funded under the grant. 2 CFR § 200.1, 42 CFR § 52.2.

        9.      Consistent with the discretionary nature of NIH grants, and the finite amount of

the NIH’s appropriations, the process of selecting and awarding grants is highly competitive.

Due to finite resources, the NIH is only able to fund approximately 20% of grant applications.

See https://report.nih.gov/nihdatabook/category/10 (last accessed April 28, 2025). Accordingly,

one of the NIH’s core functions is to serve as an effective steward of the extramural research

portfolio by ensuring that the limited available funding is directed to only the most promising

science consistent with agency priorities.

        10.     Through the NIH grant award, the NIH agrees to support the recipient with a

specified level of funding for a specific period. The award document, in turn requires recipients




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of NIH grant funds to comply with all Federal statutes, regulations, policies, and terms and

conditions stated in the Notice of Award (NOA). The NOA is the governing legal document.

        11.     The NIH Grants Policy Statement (GPS) is a term and condition applicable to all

NIH grant awards. Since 2021, the NIH GPS has stated that its grant terms and conditions,

including terms and conditions in 2 CFR Part 200, are incorporated into NIH NOAs. A copy of

the relevant sections of the current NIH GPS are attached as Exhibit A. Recipients accept the

terms of the NOAs when they draw down funds from the Payment Management System (PMS).

One term and condition of the NOA is therefore 2 CFR § 200.340, which allows the Government

to terminate a grant “pursuant to the terms and conditions of the Federal award, including, to the

extent authorized by law, if an award no longer effectuates the program goals or agency

priorities.” 2 CFR § 200.340; see also GPS 8.5.2 (stating “NIH may also terminate the grant in

whole or in part as outlined in 2 CFR Part 200.340”).

        12.     As a grantee, Columbia University was subject to the above laws, regulations,

policies, and terms and conditions.

        13.     On January 29, 2025, President Trump issued Executive Order 14188, entitled

“Additional Measures to Combat Anti-Semitism,” which instructed agencies to combat

antisemitism vigorously. In February 2025, a multi-agency task force was created for purposes of

combatting antisemitism.

        14.     On February 10, 2025, Dorothy A. Fink, M.D., HHS Acting Secretary, issued a

Secretarial Directive on DEI-Related Funding (Secretarial Directive). Exhibit B. This Secretarial

Directive was issued pursuant to HHS authorities “to ensure that taxpayer dollars are used to

advance the best interests of the government . . . [which] includes avoiding expenditure of

federal funds on programs . . . . that discriminate on the basis of race, color, religion, sex,



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national origin, or another protected characteristic.” Id. The Secretarial Directive directed the

“review of. . . grants to determine whether those . . . grants are in the best interest of the

government and consistent with current policy priorities.” Id.

        15.     Consistent with the Secretarial Directive, on February 21, 2025, the Acting

Director for the NIH issued a Directive on NIH Priorities, Restoring Scientific Integrity and

Protecting the Public Investment in NIH Awards (“Directive”). Exhibit C. This Directive

expressed that the NIH is “committed to promoting only the highest level of scientific integrity,

public accountability, and social responsibility in the programs it funds.” Id. The Directive stated,

“[g]rants, contracts, cooperative agreements, and other transactions deemed inconsistent with the

NIH’s mission may, where permitted by applicable law, be subject to funding restrictions,

terminated or partially terminated, paused, and/or not continued or renewed, in compliance with

all procedural requirements.” Id.

        16.     On March 7, 2025, HHS placed a hard funds restriction on all Columbia awards

HHS-wide. A “hard funds restriction” means that if Columbia tried to draw down funds from the

PMS for expenses incurred after the restriction was put in place, they would not be able to do so

without further approval. The payment restriction is an operational mechanism and does not

terminate or otherwise cancel grant awards.

        17. On March 10, 2025, the NIH Director of the Office of Policy for Extramural Research

Administration (OPERA) sent Columbia University correspondence notifying the University that

approximately 233 grants would be terminated for nonalignment with agency priorities of

funding safe research environments. The NIH sent a second letter on March 14, 2025, regarding

an additional 29 grants. The grants in the letters were identified as inconsistent with NIH policy

and requirements, as outlined in the NIH GPS and 2 CFR § 200.340(a)(4), which provides for



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termination “if any award no longer effectuates the program goals or agency priorities.” A copy

of the March 10 correspondence to Columbia University is attached as Exhibit D, and a copy of

the March 14 correspondence is attached as Exhibit E. Each letter stated that the identified

awards no longer effectuated agency priorities and failed to satisfy NIH stewardship obligations

and criteria to ensure taxpayer funds are used in ways “that benefit the American people and

improve their quality of life.” Id. The letters further stated that it is the NIH’s policy that funded

institutions should foster “safe, equal, and healthy working and learning conditions conducive to

high-quality research and free inquiry.” Id. Recent events, including antisemitism and actions

concerning the safety and wellbeing of Jewish students taking place at Columbia University and

Columbia University’s inaction, contradict that policy. Id. The letters also indicated that the NIH

considered alternatives to terminating the funding but concluded that there were no viable

alternatives. See id at. 2. The NIH did not terminate the grants pursuant to Title VI of the Civil

Rights Act.

       18.     The NIH is the only division or sub-agency within HHS to terminate grant awards

with Columbia University due to antisemitic conduct on Columbia’s campus.

       19.     To effectuate the March 10, 2025 and March 14, 2025 termination letters, the NIH

began the process of issuing a revised NOA for each grant. Of the grants listed on the

spreadsheets attached to the NIH’s March 10 and March 14 letters, the NIH issued revised NOAs

for approximately 148 before pausing that process pending negotiations with Columbia

University about restoring the funding. On April 11, 2025, the NIH notified Columbia University

that a number of the grants referenced in the March 10 and March 14 letters would be reinstated

because of progress made in the negotiations. Seven of these had already had termination NOAs




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sent out; the NIH sent further revised NOAs reinstating those seven. Negotiations regarding

restoring the grant funding are ongoing.

        20. The NIH has established a first-level grant appeal procedure for Columbia University

and its affiliate institutional grant recipients to challenge these terminations. As reflected in the

March 10, 2025 and March 14, 2025 letters, NIH policy provides for an administrative appeal to

object and provide information and documentation challenging the terminations. Though the

letters stated that appeals had to be submitted to the NIH as directed “no later than 30 days after”

the letters were received, id, the deadline for appeals submission has been extended until June

23, 2025, with the potential for further extensions.

        21. Additionally, on or after March 7, 2025, HHS components, including NIH, terminated

contracts with Columbia for convenience. A copy of a sample termination notice is attached as

Exhibit F.

        I declare under penalty of perjury that the foregoing is true and correct.


Executed this 23rd day of May, 2025.
                                             Jon R.             Digitally signed by
                                                                Jon R. Lorsch -S

                                             Lorsch -S          Date: 2025.05.23
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                                        _____________________________
                                              JON LORSCH




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